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VAN−099 Order Continuing Confirmation Hearing − Rev. 03/12/2019

                             UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                        Wilmington Division

IN RE:
Herman Michael Pritchard                                          CASE NO.: 19−03509−5−SWH
( debtor has no known aliases )
102 Phoebee Court                                                 DATE FILED: August 1, 2019
Hampstead, NC 28443
                                                                  CHAPTER: 13




                                    ORDER CONTINUING CONFIRMATION HEARING

IT IS ORDERED that the hearing on confirmation is continued.

DATE:          Wednesday, November 13, 2019
TIME:          10:30 AM
PLACE:         1003 S. 17th Street, Room 118, Wilmington, NC 28401



The movant must transmit a copy of this order to all creditors, and a certificate of service must be filed
with the court within three (3) days evidencing service.



DATED: October 1, 2019

                                                                     Stephani W. Humrickhouse
                                                                     United States Bankruptcy Judge
